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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 DEBRA MILANO                                       :
                Plaintiff,                          :          CIVIL ACTION
                                                    :          No. 20-6307
                v.                                  :
                                                    :
 IKEA HOLDINGS US, INC. et al.,                     :
                Defendants.                         :

                                            ORDER

       AND NOW, this 16th day of May, 2022, it is ORDERED that Defendant IKEA

Holdings US, Inc., IKEA US Retail, LLC, and IKEA North America Services, LLC’s

(“IKEA’s”) Motion to Compel (ECF No. 32) is GRANTED. Plaintiff is ORDERED to provide

full and complete verified responses to Defendants’ First Set of Interrogatories and produce

documents responsive to Defendants’ First Request for Production of Documents within ten (10)

days of this Order.

                                                            ___s/ANITA B. BRODY,J._____

                                                     ANITA B. BRODY, J.
